 Case: 4:20-cv-00502-SRC Doc. #: 19 Filed: 05/14/20 Page: 1 of 2 PageID #: 215



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MARION A. GREEN,                                  )
                                                   )
         Plaintiff(s),                             )
                                                   )
         vs.                                       )        Case No. 4:20-cv-000502-SRC
                                                   )
 C.R. BARD, INC., et al.,                          )
                                                   )
         Defendant(s).                             )

                                  MEMORANDUM AND ORDER

        This matter was recently transferred from the multi-district litigation (MDL) pending

against defendants C.R. Bard, Inc., and Bard Peripheral Vascular, Inc., in the United States

District Court for the District of Arizona. See In re: Bard IVC Filters Products Liability

Litigation, Case No. MDL 15-02641-PHX-DGC. The presiding MDL judge transferred this

particular case to this Court after determining that it would no longer benefit from centralized

proceedings. To properly frame the issues and determine what is necessary for this case to reach

disposition, the Court orders Defendants to file an answer Plaintiff’s complaint and directs the

parties to file a joint status report as set forth below.

        Accordingly,

        IT IS HEREBY ORDERED that Defendants shall answer Plaintiff’s complaint no later

than June 4, 2020.

        IT IS FURTHER ORDERED that, no later than June 4, 2020, the parties shall submit a

joint status report setting forth the following:




                                                       1
 Case: 4:20-cv-00502-SRC Doc. #: 19 Filed: 05/14/20 Page: 2 of 2 PageID #: 216



   1.     An agreed-upon statement of the facts and procedural history of this case, including

          significant actions taken in consolidated pretrial proceedings before the United States

          District Court for the District of Arizona;

   2.     Whether the parties have taken all necessary actions to cause the relevant portions of

          the record to be furnished to this Court;

   3.     The issues remaining for determination;

   4.     The potential for settlement and the status, though not the content, of any offers of

          settlement;

   5.     Whether referral to alternative dispute resolution could advance the ultimate

          resolution of this case;

   6.     Whether the parties request a Rule 16 scheduling conference;

   7.     When it is reasonably likely this case would be ready to proceed to trial and the

          estimated length of trial; and

   8.     Whether the parties anticipate the filing of dispositive or expert motions.



So Ordered this 14th day of May, 2020.



                                             STEPHEN R. CLARK
                                             UNITED STATES DISTRICT JUDGE




                                                2
